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                              UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION



DEXTER PEARCE,                                              Case No. 3:22-cv-00518-HZ

                Plaintiff,
                                                            DEFENDANT CITY OF PORTLAND'S
       v.                                                   WITHDRAWAL OF ITS MOTION TO DISMISS AS
                                                            TO PLAINTIFF'S FIRST AMENDED COMPLAINT
CITY OF PORTLAND; and JOHN DOES
1-10,

                Defendants.



       In response to the [First] Amended Complaint ("FAC") (ECF No. 11) filed by Plaintiff

Dexter J. Pearce ("Plaintiff" or "Pearce") in this case, on June 21, 2022, Defendant City of Portland

("Defendant" or "City") filed a Motion to Dismiss as to Plaintiff's First Amended Complaint

("MTD") (ECF No. 13). However, on July 4, 2022, Plaintiff filed a Motion to Amend Complaint

("MTA") (ECF No. 15), in which Plaintiff requests leave from the Court to file his proposed

Second Amended Complaint ("Proposed SAC") that is attached to the supporting Declaration of

Counsel (ECF No. 16, ¶ 5, Ex. 1). Since the City does not oppose Plaintiff's MTA and expects

that the Court will grant Plaintiff's MTA and allow him to file his Proposed SAC, the City hereby

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withdraws its currently pending MTD (ECF No. 13) without prejudice to the City raising the same

arguments in response to Plaintiff's SAC after the SAC becomes Plaintiff's operative complaint in

this case.


        DATED: July 6, 2022                            PORTLAND CITY ATTORNEY'S OFFICE



                                                       By: /s/ Trung D. Tu
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2022, I served a true and correct copy of the foregoing

DEFENDANT CITY      OF   PORTLAND'S WITHDRAWAL                      OF ITS    MOTION   TO   DISMISS   AS TO

PLAINTIFF'S FIRST AMENDED COMPLAINT on the interested parties in this action as follows:

   Mr. Juan C. Chavez                                   Of Attorneys for Plaintiff Dexter Pearce
   Mr. Franz H. Bruggemeier
   Mr. Alexander Meggitt
   OREGON JUSTICE RESOURCE CENTER
   P.O. Box 5248
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   alex.meggitt@gmail.com

        by mail in a sealed envelope, with postage fully prepaid, and deposited with the U.S.
        Postal Service in Portland, Oregon.

        by hand delivery.

        by facsimile transmission.

        by email. Based on an agreement of the parties to accept service by e-mail or electronic
        transmission.

        by electronic service via the Court's CM/ECF electronic filing system for registered
        users.



       DATED: July 6, 2022                               /s/ Trung D. Tu
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                                                      Deputy City Attorney
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